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                THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                           EASTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )          CRIMINAL ACTION NO.
      v.                                    )          3:09-cr-106-LSC
                                            )          [wo]
DEON TERESE NELMS                           )

                                       ORDER
      On September 25, 2009, the Magistrate Judge filed a Recommendation in this case

(Doc. 51) to which no timely objections have been filed. Upon an independent review of the

file in this case and upon CONSIDERATION of the Recommendation of the Magistrate

Judge, it is ORDERED as follows:

      1.     The Recommendation of the Magistrate Judge (Doc. 51) is hereby ADOPTED,

             and

      2.     The defendant’s Motion to Sever (Doc. 34) is hereby DENIED.

      Done this 14th day of October 2009.




                                               L. SCOTT COOGLER
                                          UNITED STATES DISTRICT JUDGE
                                                                            153671
